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                                              United States District Court
                                              Eastern District of California




Dimitri Maye
                                                                                 2:23-CV-00173-DAD-CKD
 Plaintiff(s)                                                   Case Number:

 V.
                                                               APPLICATION FOR PRO HAC VICE
Online Land Sales, LLC, Brian Quilty, Scott                    AND PROPOSED ORDER
Wigginton, Classic County Land, LLC, DOES 1-25
 Defendant(s)


Pursuant to Local Rule 180(b)(2) of the United States District Court for the Eastern District of California,
Timothy L. Spencer                                        hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
Scott Wigginton and Classic County Land, LLC.

On 9/16/2017                          (date), I was admitted to practice and presently in good standing in the
Oklahoma State Court                                        (court). A certificate of good standing from that court is

submitted in conjunction with this application. I have not been disbarred or formally censured by a court of

record or by a state bar association; and there are not disciplinary proceedings against me.

      I have /     I have not concurrently or within the year preceding this application made a pro hac vice

application to this court. (If you have made a pro hac vice application to this court within the last year, list

the name and case number of each matter in which an application was made, the date of application and

whether granted or denied.)




Date: June 26,2024                                   Signature of Applicant: /s/ /s/ Timothy L. Spencer
                                                                                 (as authorized on 6/26/24)


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Pro Hac Vice Attorney

Applicant's Name:                  Timothy L. Spencer

Law Firm Name:                     Mcafee Taft

Address:                           2 West Second Street, Williams Tower II, Suite 1100



City:                              Tulsa                            State: OK      Zip: 74103
Phone Number w/Area Code: (918) 574-3032

City and State of Residence: Broken Arrow, Oklahoma
Primary E-mail Address:            tim.spencer@mcafeetaft.com

Secondary E-mail Address:          Kathryn.miller@mcafeetaft.com


I hereby designate the following member of the Bar of this Court who is registered for ECF with whom the
Court and opposing counsel may readily communicate regarding the conduct of the case and upon whom
electronic notice shall also be served via the Court’s ECF system:


Local Counsel's Name:             Amy Maclear
Law Firm Name:                    Shook, Hardy & Bacon L.L.P.

Address:                          555 Mission Street, Suite 2300.



City:                             San Francisco                  State: CA         Zip: 94105

Phone Number w/Area Code: (415) 544-1900                                 Bar # 215638




                                                         ORDER
The Pro Hac Vice Application is APPROVED. The Pro Hac Vice Attorney is DIRECTED to request
filing access through PACER.




                          June 27, 2024
               Dated:
                                                             JUDGE, U.S. DISTRICT COURT



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